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                                                                8701 Morrissette Drive
                                                                Springfield, Virginia 22152

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                                                                JUN 8 - 2018



     Uniformed Services University
     4301 Jones Bridge Road
     Bethesda, Maryland 20814

     Dear             :

         This is in response to your email dated May 24, 2018, in which you request the control status
     of dymethazine (17_6-hydroxy-2a,17-dimethyl-5a-androstan-3-one azine) under the Controlled
     Substances Act (CSA). The Drug Enforcement Administration (DEA) conducted a scientific
     review of the chemical structure of this substance in accordance with the definitions within the
     CSA and its implementing regulations. Based on this review, DEA determined that dymethazine
     is not named or defined as a controlled substance under the CSA.

        The chemical structure of dymethazine is related to those of the anabolic steroids controlled in
     schedule III by Title 21 of the United States Code (U.S.C.) § 812(e) Schedule III and Title 21 of
     the Code of Federal Regulations§ 1308.13(f). However, it is altered such that it is not named or
     defined as an anabolic steroid, and is not a controlled substance at this time. Should DEA
     determine in the future that dymethazine meets the criteria for schedule III control as an anabolic
     steroid as set forth in 21 U.S.C. § 802(41)(A), DEA will initiate a rulemaking to have it placed
     in schedule III of the CSA.

        The chemical structure used to make this determination is shown below. If you have any
     further questions, please contact the Drug and Chemical Evaluation Section at (202) 307-7183 .




                                         Dymethazine; Not Controlled




                                                        )2_'7/L
                                                            Terrence L. Boos, Ph.D. , Chief
                                                            Drug & Chemical Evaluation Section
                                                            Diversion Control Division




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                                                               8701 Morrissette Drive
                                                               Springfield, Virginia 22152

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                                                                JUN 8 - 2018



             Operation Supplement Safety
    Uniformed Services University
    4301 Jones Bridge Road
    Bethesda, Maryland 20814

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    in schedule III of the CSA.

       The chemical structure used to make this determination is shown below. If you have any
    further questions, please contact the Drug and Chemical Evaluation Section at (202) 307-7183.




                                        Dymethazine; Not Controlled


                                                          Sincerely,



                                                       ~ e £.~.Ph.D., Chief
                                                          Drug & Chemical Evaluation Section
                                                          Diversion Control Division

    cc: Washington Division

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                                                               8701 Morrissette Drive
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                       MS
             Operation Supplement Safety
    Uniformed Services University
    4301 Jones Bridge Road
    Bethesda, Maryland 20814

    Dear             :

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    in schedule III of the CSA.

       The chemical structure used to make this determination is shown below. If you have any
    further questions, please contact the Drug and Chemical Evaluation Section at (202) 307-7183 .




                                        Dymethazine; Not Controlled




                                                         rzt~
                                                           Terre~. Boos, Ph.D., Chief
                                                           Drug & Chemical Evaluation Section
                                                           Diversion Control Division

    cc: Washington Division

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Bass, Crystal P

From:
Sent:
To:
Subject:
                                       ODE Mailbox
                                       Thursday, May 24, 2018 11:07 AM
                                       Bass, Crystal P
                                       FW: DMZ
                                                                         1i /)f O'L
Log in please.


From:                                                          ]                           ='
Sent: Thursday, May 24, 2018 10:34 AM                                                      =
To: ODE Mailbox                                                                                     -
                                                                                                    [T
Subject: DMZ                                                                                     Oc-:
                                                                                           U1    orr 1
Good morning,                                                                                    rl<
                                                                                                    !Tl
                                                                                                    ,.....,
Can you tell us if DMZ, or dymethazine (sometimes spelled dimethazine; also known as meb<ffi.zine or 17b-
hydroxy-2a, 17b-dimethyl-5a-androstan-3-one-azine), is covered by DASCA?                       -..J

It is often marketed as a prohormone or designer steroid ingredient in dietary supplements. It is similar to
methasterone. Various products have been recalled due to the presence of dymethazine; you can read the most
recent statement from FDA regarding potential health risks from consuming this ingredient, which FDA refers
to as an "anabolic steroid" and an "unapproved drug." Also note that dymethazine is prohibited by the U.S.
Anti-Doping Agency and the World Anti-Doping Agency.

Thank you for your assistance.

Best,



                 ,
         Operation Supplement Safety

Consortium for Health and Military Performance
* A DoD Center of Excellence*
Uniformed Services University
430 I Jones Bridge Road
Bethesda, MD 20814
Email :
OPSS : OPSS.org




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